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“Inclusion Through Diversity”

 

Jane 20, 2023

Hon. Miroslav Lovric, US Magistrate Judge
Federal Building and US Courthouse

15 Henry Street

Binghamton, NY 13901

RE: Georgia v. Davenport
Case No. 3:21-cv-00484-FJS-ML

Dear Magistrate Judge Lovric:

I write to request an extension of time to submit my closing brief in the above-referenced matter.
I will be on vacation the first week in July and could use an extra week to complete my brief. I
have spoken to Jason Violette, Esq., of attorney Kopkos’ office and he has consented to the

extension. I propose that the new date will be July 13, 2023.

Thank you for your consideration.

Respectfully submitted,

A ro.
William J Troy III

Attorney for Defendant
Bar Roll No. 301140

Ce: — Ed Kopko, Esq.
